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UNITED STATES DISTRICT COURT
MIDDLE DSITRIC OF FLORIDA
FORT MYERS DIVISON

KENDRICK TYRON PERRY SR. (
ESTATE

AGGRIEVED MAN,

V.
( CIVIL ACTION NO:

OAK VIEW GROUP, ( A 2U-N- 2287 3(B- XCD
TIM LEIWEKE,

FRANCESCA BODIE, (

ADE PATTON,
ANN JACKSON,

CHRISTINA SONG, (
STEVE COLLINS,

CHRIS GRANGER, (

JESSICA KORAVOS,

DAN GRIFFIS, (
JAY VOELKER,
GREG O’DELL,

KRISTINA HENEY,
RANDI BERNSTEIN,

KEEGAN MCDONALD AND (

IRVING AZOFF

DEFENDANTS,

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UNITED STATES DISTRICT COURT
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FORT MYERS DIVISON

Plaintiff, KENDRICK TYRON PERRY SR.., hereby brings this complaint against
Oak View Group, Tim Leiweke, and Irving Azoff (collectively referred to as

Defendants"), and alleges as follows:

PARTIES

1, Plaintiff KENDRICK TYRON PERRY SR. is an individual DOMICILED in

FLORIDA REPUBLIC.

Defendant Oak View Group is a corporation organized and existing under the laws
of Delaware, with its principal place of business located at [Address]. Process of
Service can be served at In C/O NATIONAL REGISTERED AGENTS, INC.,

Address: 160 GREENTREE DR STE 101, DOVER, Kent, DE, 19904

JURISDICTION AND VENUE

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This Court has jurisdiction over this matter as the actions alleged herein occurred
within the jurisdiction of this Court.
Venue is proper in this Court as Defendants conduct business within this

jurisdiction and the alleged actions occurred within this jurisdiction.

FACTS

IN THE YEAR OF 2023, Defendants experienced a data breach where the personal
information of thousands of their customers was accessed by an unauthorized
individual or group.

The personal information obtained by the unauthorized party included names,
addresses, phone numbers, and email addresses of customers who had purchased
tickets or registered for events through Defendants' websites.

Defendants were aware of the data breach but failed to notify their customers in a
timely manner, leaving their personal information vulnerable and exposing them to
potential identity theft and financial harm.

Plaintiff was one of the customers whose personal information was accessed in the
data breach.

As a result of Defendants' failure to secure their customers’ personal information

and failure to timely notify their customers of the data breach, Plaintiff has suffered

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damages, including but not limited to, identity theft protection costs, credit
monitoring fees, and emotional distress.
Defendants' actions constitute a breach of their duty to protect the privacy and
personal information of their customers, as well as a breach of trust as customers
relied on Defendants to secure their personal information.
Defendants' conduct also violated various state and federal laws, including but not

limited to, the California Consumer Privacy Act, the Federal Trade Commission

Act, and the Computer Fraud and Abuse Act.

CLAIMS FOR RELIEF

COUNT I - BREACH OF PRIVACY

14. Plaintiff realleges and incorporates by reference the above paragraphs as if fully
set forth herein.

15. Defendants had a duty to protect the privacy and personal information of their
customers.

16. Defendants breached this duty of privacy by failing to secure their customers’
personal information, resulting in a data breach.

17. As a direct and proximate result of Defendants’ breach of privacy, Plaintiff has

suffered damages, including but not limited to, identity theft protection costs, credit

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monitoring fees, and emotional distress.
18. Defendants’ actions constitute a breach of privacy under applicable state and
federal laws.
COUNT II - BREACH OF TRUST
19. Plaintiff realleges and incorporates by reference the above paragraphs as if fully
set forth herein.
20. Defendants were entrusted with securing and protecting their customers'
personal information.
21. Defendants breached this trust by failing to properly secure their customers’
personal information, resulting in a data breach.
22. As a direct and proximate result of Defendants’ breach of trust, Plaintiff has
suffered damages, including but not limited to, identity theft protection costs, credit
monitoring fees, and emotional distress.

23. Defendants' actions constitute a breach of trust under applicable state and

federal laws.
PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

1. An award of compensatory damages in an amount to be determined at trial;

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2. An award of punitive damages;

3. An award of attorneys’ fees and costs;

4, An order requiring Defendants to implement proper security measures to protect
customers’ personal information;

5. An order requiring Defendants to provide timely and accurate notifications to all
customers affected by the data breach; and

6. Any other relief the Court deems just and proper.

DEMAND FOR JURY TRIAL

Plaintiff demands a trial by jury for all issues triable by jury.

VERIFICATION
I, PERRY, KENDRICK T., declare under penalty of perjury under the laws of

GOD that the above statement is true and correct.

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FLORIDA JURAT
FS 117.05(13) — Effective January 1, 2020
State of Florida
County of L Ce
Sworn to (or affirmed) and subscribed before me by
means of
Wrst Presence,
—OR—

Ci Online Notarization,

this 15 sayot March ' Aad wy

Day Month Year

Kendrick Tyyon Vertu

. Name of Person Swearing or Affirming

Chit. (yrplll
Signature of Notary Publié — State of Florida

hvistn Compbelf

Name of Notary Typed, Printel or Stamped

CHRISTA CAMPBELL
Notary Public

Commé# HH445327 C1 Personally Known
Expires 9/19/2027 Yd produced Identification

Type of Identification Produced: __ E ul pL

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Or

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. (GX NTOR/TRUSTEE)
